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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re Terrorist Attacks on September 11, 03 MD 1570 (GBD) (SN)
20061

This document relates to:

Ashton et al. v. al Qaeda Islamic Army, et al., 012-cv-6977 (GBD) (SN) (and member case
Marie Laure Anaya, et al. v. Islamic Republic of Iran, 1:18-cv-12341 (GBD) (SN)))

PARTIAL FINAL DEFAULT JUDGMENT FOR ANA YAJRAN V PLAINTIFFS
IDENTIFIED IN EXHIBIT A

Upon consideration of the evidence and arguments submitted by Anaya/Iran Plaintiffs
identified in Exhibit A to this Order, who each represent the estate of an individual who was killed
in the terrorist attacks on September 11, 2001, and the judgment on default as to liability entered
against the Islamic Republic of Iran on January 10, 2022 in the above-captioned Marie Laure
Anaya, et al. v. Islamic Republic of Iran, 1:18-cv-12341 (GBD) (SN) (ECF No. 97) and in the
above-captioned Multidistrict Litigation (ECF No. 7580), together with the entire record in this
case, it is hereby;

ORDERED that service of process in the above-captioned Marie Laure Anaya, et al. y.
Islamic Republic of Iran, 1:18-cv-12341 (GBD) (SN) was effectuated upon the Islamic Republic of
Iran in accordance with 28 U.S.C. § 1608(a); and it is

ORDERED that, there being no just reason for delay, partial final judgment is entered
against the Islamic Republic of Iran and in favor of Anaya/Tran Plaintiffs identified in Exhibit A
hereto, who each represent the estate of an individual who was killed in the terrorist attacks on

September 11, 2001, as indicated in Exhibit A; and it is
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ORDERED that Anaya/Iran Plaintiffs identified in Exhibit A hereto are awarded
economic damages as set forth in Exhibit A hereto and as supported by the expert reports and
analyses tendered in conjunction with the Declaration of Joseph Peter Drennan executed on March
2, 2023 (MDL ECF No. 8891; Anaya ECF No. 140); and it is

ORDERED that Anaya/Iran Plaintiffs identified in Exhibit A hereto are each awarded
prejudgment interest on the damages hereby awarded to be calculated at a rate of 4.96 percent per
annum, compounded annually, running from January 1, 2023 until the date of this judgment for
plaintiffs Donna M. Hall, Judith King, and Rosalie A. Marti; and running from March 1, 2023 until
the date of this judgment for plaintiffs Joseph Dimartino, Lucille Dionisio, Peter A. Dionisio, and
Barbara M. Duffy; and it is

ORDERED that Anaya/Iran Plaintiffs identified in Exhibit A hereto may submit
applications for punitive or other damages at a later date consistent with any future rulings of this
Court; and it is

ORDERED that other Anaya/Iran Plaintiffs may submit in later stages applications for
damages awards.

Furthermore, the Clerk of Court is directed to close the motion at ECF No. 8889 in 03-md-

1570 (GBD) (SN) and ECF No. 139 in 18-cv-12341 (GBD) (SN).

Dated: New York, New York
October 5, 2023
SO ORDERED:

B Donvl.

RGE(BL DANIELS
ited States District Judge

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Exhibit A

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Plaintiff Personal 9/11 Decedent’s Name 9/11 Decedent’s Economic
Representative’s Name | (Last, First Middle) Citizenship on Damage Amount
(Last, First Middle) September 11, 2001

Dimartino, Joseph Dimartino, Debra Ann United States $5,315,257
Dionisio, Peter A. and Dionisio, Anthony, Jr. United States $3,072,727
Dionisio, Lucille

Duffy, Barbara M. Duffy, Michael Joseph United States $3,710,954
Hall, Donna M. Hall, Richard Bradway United States $3,538,031
King, Judith King, Andrew Marshall United States $9,925,953
Marti, Rosalie A. Marti, Michael A. United States $1,496,372
TOTAL ECONOMIC DAMAGES $27,059,294

